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                          Exhibit A
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                                                                                               Stephen J. Obermeier
1776 K STREET NW         June 15, 2018                                                         202.719.7465
WASHINGTON, DC 20006                                                                           sobermeier@wileyrein.com
PHONE     202.719.7000
                         VIA EMAIL
www.wileyrein.com

                         Lee S. Wolosky
                         BOIES SCHILLER FLEXNER LLP
                         575 Lexington Avenue, 7th Fl.
                         New York, NY 10022

                         Re:    Broidy Capital Management LLC v. State of Qatar,
                                No. 2:18-CV-2421-JFW-E (C.D. Cal.)

                         Dear Lee:

                                I write in response to your June 14, 2018 email, where you state: “We did
                         not share Mr. Muzin’s phone records with the media and will not do so.”

                                  I find it difficult to understand how information derived from Mr. Muzin’s
                         phone records—which have only been produced to the parties as part of this
                         litigation—was provided to reporters and used in articles attacking Mr. Muzin if
                         that information did not come from Plaintiffs or their surrogates, particularly given
                         the closeness in time between when the records were produced and when the
                         articles were published. Indeed, another hit-piece published today states that the
                         Washington Free Beacon had reviewed “subpoenaed phone records.” See Att. 1.

                                 I also find it difficult to understand why Plaintiffs are not willing to
                         designate Mr. Muzin’s personal phone records as “Attorneys’ Eyes Only” pending
                         the negotiation of a protective order, especially when the parties have agreed that a
                         protective order is necessary, unless Plaintiffs’ ultimate goal is to make that
                         information public. Your email does not dispute that Mr. Muzin’s phone records
                         constitute confidential information. And regardless of whether a protective order
                         was in place when Plaintiffs received the documents, providing information from
                         Mr. Muzin’s personal phone records to the public is highly inappropriate and has
                         caused and will continue to cause Mr. Muzin irreparable harm.
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                    Can you please confirm that neither Boies Schiller nor Plaintiffs provided
            Mr. Muzin’s phone records—or any information derived from those records—
            directly or indirectly to the media, and will not do so in the future? If you cannot
            make this additional confirmation, we will have no choice but to seek relief from
            the Court.

            Regards,




            Stephen J. Obermeier
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                   Attachment 1
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                     - Washington Free Beacon - http://freebeacon.com -


Phone Records Suggest Qatar Shopped Hacked Emails to DC
Reporters
Posted By Adam Kredo On June 15, 2018 @ 4:57 am In Issues | No Comments




Attorneys for former Republican National Committee finance chairman and Trump ally Elliott Broidy
have issued 43 subpoenas in an investigation following the hack of his email account by what Broidy
alleges was the state of Qatar, according to multiple sources involved in the investigation.

Broidy's legal team is preparing more subpoenas in a case alleging that Qatar orchestrated a spear
phishing hack of Broidy's email, in retaliation for Broidy's anti-Qatar advocacy with the Trump
administration. The lawsuit says that individuals working for Qatar in Washington and New York,
including both registered and unregistered foreign agents, distributed the hacked emails to
reporters, fueling a series of damaging media stories.

Several prominent news outlets ran stories in recent months based on emails obtained from the
Broidy hack, including the Wall Street Journal, Bloomberg, the New York Times, McClatchy, and the
Associated Press.

The stories revealed details of Broidy's interactions with Qatar's Gulf-region rivals, and his efforts to
persuade President Trump and other administration officials to side with Saudi Arabia and the
United Arab Emirates against Qatar in their ongoing dispute in the region. Broidy has not been
formally registered with the Department of Justice to represent the UAE, but the leaked emails
appear to show he was reporting back to UAE representatives regarding meetings he held with
President Trump and administration officials.

In at least two instances in which records have already been obtained—those concerning stories in
the AP and McClatchy—subpoenaed phone records show that Nicolas Muzin, a former deputy chief
of staff to Sen. Ted Cruz (R., Texas) who was a registered foreign agent for Qatar, had been in close
contact with reporters who soon thereafter published stories based on the Broidy emails.
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In the weeks leading up to the May 21 publication of a lengthy AP story on Broidy, Muzin and AP
reporter Tom LoBianco spoke approximately three dozen times, according to subpoenaed phone
records viewed by the Washington Free Beacon.

Muzin and McClatchy reporter Ben Wieder held at least four calls on January 25 and 26, the phone
records show. In March, McClatchy ran a lengthy article based on the hacked Broidy emails.

The AP reporter, LoBianco, left the AP a day after the Broidy story was published.

Both the AP and McClatchy told the Free Beacon that they do not comment on their
sourcing. LoBianco did not respond to a request for comment.

Individuals once tied to Qatar, including Muzin and Joseph Allaham, have publicly cut ties with the
country or have criticized Qatar in recent days as the legal landscape shifts against the Middle
Eastern nation.

On June 6, Muzin announced on Twitter that his firm, Stonington Strategies, "is no longer
representing the State of Qatar."

A day later, Joseph Allaham, a New York restaurateur who is accused of working for Qatar and with
Muzin, also abruptly severed ties with Qatar, telling Politico that "Qatar enjoys portraying
themselves as the purveyor of peace in the region, but this could not be further from the truth."

Allaham, who was being paid by Qatar but had not filed with the Justice Department as a registered
foreign agent, announced he would register.

Allaham's legal troubles recently deepened when a federal district court judge in New York ordered
him for the third time to comply with a Broidy subpoena seeking records and documents related to
the hack. Allaham had gained extensions first by citing his wife's pregnancy and then the birth of a
child, finally earning a harsh rebuke from the judge. The failure to produce documents, "combined
with the fact that no response, not even an objection, was filed by the compliance date … further
suggests that Allaham never intended to comply with the subpoena or produce any documents
whatsoever" the judge ruled.

Other defendants in the case include Mohammed bin Hamad, a senior Qatari regime official who
leads the country's public relations and lobbying efforts in the United States; Ahmed Al-Rumaihi, a
former Qatari diplomat and head of a $100 billion Qatari sovereign wealth fund; Jamal Benomar, a
former United Nations official who lives in New York and works for Qatar; and the cyberintelligence
consulting firm Global Risk Advisors, which was hired by Qatar in 2017.




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